                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            CASE NO. 3:23-CV-431-RJC-DCK

 DELSONYA WILKINS-BAILEY,                           )
                                                    )
                  Plaintiff,                        )                   ORDER
                                                    )
     v.                                             )
                                                    )
 ESSITY PROFESSIONAL HYGIENE                        )
 NORTH AMERICA, LLC,                                )
                                                    )
                  Defendant.                        )
                                                    )

          THIS MATTER IS BEFORE THE COURT on “Defendant’s Motion To File Exhibits

Under Seal” (Document No. 43) filed January 24, 2025. This motion has been referred to the

undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is

appropriate. Having carefully considered the motion and the record, and noting no objection from

Plaintiff, the undersigned will grant the motion.

          A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule (“LCvR”) 6.1 provides in relevant part as follows:

          LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

          (a)    Scope of Rule. To further openness in civil case proceedings, there
                 is a presumption under applicable common law and the First
                 Amendment that materials filed in this Court will be filed unsealed.
                 This Rule governs any party’s request to seal, or otherwise restrict
                 public access to, any materials filed with the Court or used in
                 connection with judicial decision- making. As used in this Rule,
                 “materials” includes pleadings and documents of any nature and in
                 any medium or format.

          (b)    Filing under Seal. No materials may be filed under seal except by
                 Court order, pursuant to a statute, or in accordance with a previously
                 entered Rule 26(e) protective order.




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         (c)    Motion to Seal or Otherwise Restrict Public Access. A party’s
                request to file materials under seal must be made by formal motion,
                separate from the motion or other pleading sought to be sealed,
                pursuant to LCvR 7.1. Such motion must be filed electronically
                under the designation “Motion to Seal.” The motion must set forth:

                (1)    A non-confidential description of the material sought
                       to be sealed;
                (2)    A statement indicating why sealing is necessary and
                       why there are no alternatives to filing under seal;
                (3)    Unless permanent sealing is sought, a statement
                       indicating how long the party seeks to have the
                       material maintained under seal and how the matter is
                       to be handled upon unsealing; and
                (4)    Supporting statutes, case law, or other authority.

LCvR 6.1. It appears that the requirements of LCvR 6.1(c)(1) through (4) have been adequately

met.

         By the instant motion, Defendant seeks to file two excerpts from Plaintiff’s deposition

(Document No. 45) under seal as exhibits to “Defendant’s Motion For Summary Judgment”

(Document No. 46). (Document No. 43). Defendant contends these exhibits “consist of sensitive

personal health information of Plaintiff.” Id.

         Having considered the factors provided in LCvR 6.1(c), the Court will grant the motion to

seal. Noting that the time for public response has not run to this motion, the Court will consider

any objection to this Order from non-parties as an objection to the motion, requiring no additional

burden for any non-party under the Federal Rules of Civil Procedure. See Local Rule 6.1(e).

         IT IS, THEREFORE, ORDERED that “Defendant’s Motion To File Exhibits Under

Seal” (Document No. 43) is GRANTED. Document No. 45 shall remain under SEAL until

otherwise ordered by this Court.




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  SO ORDERED.
              Signed: January 24, 2025




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